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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,

                         Plaintiff,                 Civil Action No. 2:17-cv-00784-JRG-RSP
                v.
                                                          CONSOLIDATE LEAD CASE
 BOUNCE ENERGY, INC., ET AL,
                                                           JURY TRIAL DEMANDED
                         Defendants.


    SYMBOLOGY INNOVATIONS, LLC’S RESPONSE TO DEFENDANT CITGO
 PETROLEUM CORPORATION’S MOTION FOR JUDGMENT ON THE PLEADINGS

        Plaintiff Symbology Innovations, LLC (“Symbology”) respectfully responds to Defendant

 CITGO Petroleum Corporation’s Motion for Judgment on the Pleadings [Dkt. 12] and would show

 the Court as follows:

        Plaintiff has filed an Amended Complaint concurrently with this Response. As such, the

 motion is no longer based on the operative Complaint in this case. The amendment is based on the

 recent opinion of the Federal Circuit in Aatrix Software and alleges that the asserted inventions are

 not conventional and thus not subject to dismissal under Rule 12.

        Plaintiff requests that the motion be denied as moot as this Court did in similar circumstances

 in IDB Ventures, LLC v. DSW INC., 2:17-cv-524, Dkt. No. 18 (citing Calloway v. Green Tree

 Servicing, LLC, 599 F. Supp. 2d 543, 546 (D. Del. 2009) (“As the amended complaint has

 superseded the original, defendant’s motion to dismiss has become moot”).
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 Dated: April 9, 2018                                Respectfully submitted,

                                                     /s/ Thomas C. Wright
                                                     Thomas C. Wright
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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service are
 being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
 5(a)(3) on this 9th day of April, 2018.

                                                     /s/ Thomas C. Wright
                                                     Thomas C. Wright
